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11   Counsel for Plaintiff and the Proposed Class

12                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF CALIFORNIA
13                                SAN FRANCISCO DIVISION

14                                                    Case No.

15   D. BRUNNER, JR.,                                 CLASS ACTION

16           Plaintiff                                COMPLAINT FOR FEDERAL AND
                                                      STATE EMPLOYMENT LAW
17                   v.                               VIOLATIONS;
18   LYFT, INC.,                                      CLAIMS FOR DAMAGES AND
                                                      INJUNCTIVE RELIEF;
19           Defendant.
20                                                    DEMAND FOR JURY TRIAL

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                                                                         CLASS ACTION COMPLAINT FOR
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 1          Plaintiff Donald Brunner, Jr. (“Plaintiff”), by and through his undersigned attorneys,

 2   alleges, on behalf of himself and all those similarly situated, as follows:

 3                                        SUMMARY OF CLAIMS

 4          1.        Plaintiff is a driver for Defendant Lyft, Inc. (“Lyft” or “Defendant”). He brings
 5   this action as a class action on behalf of himself and all other current and former Lyft drivers in
 6   California, to recover lost wages, reimbursement of expenses, and other relief resulting from
 7   Lyft’s willful decision to misclassify him and other drivers as independent contractors.
 8          2.        Plaintiff alleges that Lyft has violated and continues to violate the Fair Labor
 9   Standards Act (“FLSA”), the California Labor Code, the California Industrial Welfare
10   Commission’s Wage Order 9-2001 (“Wage Orders”), and California’s Unfair Competition Law
11   (“UCL”), which protect Plaintiff and other drivers from being misclassified. These violations
12   include the failure to: (1) reimburse Plaintiff for his expenses, (2) pay overtime, (3) pay minimum
13   wage, (4) provide itemized wage statements, and (5) keep accurate payroll records.
14          3.        Plaintiff brings his claims under the California Labor Code, Wage Order, and the
15   UCL, on behalf of all Lyft drivers who worked in California between July 2, 2016 through the
16   date final disposition of this action (the “Class”).
17          4.        Plaintiff also brings claims under the FLSA, 29 U.S.C. §§ 201 et seq. and 29
18   U.S.C. § 216(b) on behalf of all Lyft drivers who worked in California between the period
19   beginning 3 years prior to the filing of this action through the date of its final disposition (the
20   “Collective”).
21          5.        Like all Lyft drivers, Plaintiff was required to consent to Lyft’s Terms of Service
22   (“TOS”) when he signed up to become a Lyft driver. And like the vast majority of Lyft drivers,
23   Plaintiff did not opt out of the arbitration clause contained in Section 17 of the TOS.
24          6.        However, after bringing an individual arbitration claim with the American
25   Arbitration Association (“AAA”) to litigate his claims, Lyft failed to pay the fees necessary for
26   Plaintiff’s claims to proceed.
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 1           7.        Plaintiff therefore brings this action because Lyft has defaulted in arbitration and

 2   waived its right to proceed in that forum under the terms of Section 17 of the TOS.

 3                                       JURISDICTION AND VENUE

 4           8.        This Court has jurisdiction over this action pursuant to 28 U.S.C. § 1331, because

 5   this complaint alleges claims under the laws of the United States, specifically the FLSA, 29

 6   U.S.C. § 201 et. seq. and 29 U.S.C. § 216(b). This Court has jurisdiction over Plaintiff’s claims

 7   under California law pursuant to 28 U.S.C. § 1367(a) because they arise from the same case or

 8   controversy as Plaintiff’s federal claims, and both sets of claims share a common nucleus of

 9   operative fact.

10           9.        The United States District Court for the Northern District of California has

11   personal jurisdiction over Defendant because Lyft’s principal place of business is in this District

12   and many of the acts complained of and giving rise to the claims alleged took place in California

13   and in this District.

14           10.       Venue is proper in this District pursuant to 28 U.S.C. §§ 1391(b), (c)(2) and Civil

15   L.R. 3-2(d) because Defendant resides in San Francisco.

16                                             RELATED CASES

17           11.       Plaintiff is aware of two related cases in this Court against Lyft: (1) Whitson v.
18   Lyft, Inc., No. 18-cv-06539-VC (N.D. Cal.); and (2) Norton v. Lyft, Inc., No. 19-cv-02025-VC
19   (N.D. Cal.). Those cases were also filed by Lyft drivers seeking unpaid wages due to Lyft’s
20   failure to properly classify them as employees. Whitson’s and Norton’s claims under the FLSA,
21   California Labor Code, and Wage Order 9 are substantially similar to Plaintiff’s here. Lyft is the
22   defendant in these cases, and the question of whether Lyft misclassifies its drivers as independent
23   contractors is central to each.
24                                               THE PARTIES
25           12.       Plaintiff is a resident of Burbank, California. Plaintiff has worked as a Lyft Driver
26   from approximately March 2016 to the present in the Los Angeles area. Plaintiff drove for Lyft 6-
27   7 days per week, 7-10 hours per day, or a range of 42 to 70 hours per week. Plaintiff typically
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 1   drives from around 6:00 PM until 3:00 AM. To the best of his recollection, Plaintiff drove more

 2   than forty hours per week for Lyft without overtime compensation during the weeks beginning

 3   December 11, 2017 and December 18, 2017. He estimates that he drives from 500 to 1,100 miles

 4   a week for Lyft’s benefit. Details regarding Plaintiff’s precise hours, pay, and revenue generated

 5   for Lyft are available by reference to Lyft’s records.

 6           13.     Defendant Lyft, Inc. is a publicly-traded (NASDAQ: LYFT) Delaware corporation

 7   with its corporate headquarters and primary place of business in San Francisco, California, and

 8   operations in at least 33 other states in the United States. Lyft has a market capitalization of

 9   almost $17 billion. The practices described in this Complaint were designed at, emanated from,

10   and carried out by agents in Lyft’s San Francisco, California headquarters.

11                               LYFT’S DEFAULT OF ARBITRATION

12           14.     Plaintiff’s claims were originally brought in arbitration because Plaintiff was

13   subject to the arbitration agreement contained within Lyft’s TOS. Plaintiff, represented by the

14   undersigned counsel, filed an arbitration demand with AAA on February 15, 2019 and notified

15   Lyft of his demand on the same day.

16           15.     On February 27, 2019, AAA sent an invoice to Plaintiff for filing fees. Plaintiff

17   has paid the fees.

18           16.     On April 29, 2019, Plaintiff’s counsel first contacted counsel for Lyft to begin the

19   process of identifying arbitrators for Plaintiff’s arbitration. Hearing nothing, on May 2 and again

20   on May 6, 2019, Plaintiff followed up with Lyft’s counsel regarding identifying arbitrators for

21   Plaintiff’s arbitration.

22           17.     On May 7, 2019, still having heard nothing from Lyft, Plaintiff contacted AAA

23   about the assignment of arbitrators for Plaintiff’s claim.

24           18.     On May 8, 2019, Lyft finally responded via email to AAA and Plaintiff regarding

25   the process of selecting an arbitrator.

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 1           19.     On May 13, 2019, Plaintiff provided a list of possible arbitrators to Lyft. Lyft

 2   provided a list of arbitrators on May 16, 2019. On May 23, 2019 Plaintiff and Lyft selected the

 3   arbitrators. 1 On May 31, 2019, Plaintiff provided the list of arbitrators to AAA.

 4           20.     Having heard nothing from AAA about appointment from the parties’ selected list

 5   of arbitrators, on June 10, 2019 Plaintiff requested an update from AAA about the status of

 6   Plaintiff’s arbitration. Nine days later, on June 19, 2019 - four months after Plaintiff gave notice

 7   of his arbitration demand to Lyft and AAA – AAA notified Plaintiff that Lyft had not paid the

 8   required fees for Plaintiff’s arbitration.

 9           21.     On June 25, 2019, Lyft requested, via email, an opportunity to discuss the unpaid

10   invoice with AAA. On June 28, 2019, Plaintiff asked AAA for an update, but on July 8, 2019,

11   AAA notified Plaintiff that Lyft had still not paid the fees necessary for Claimant’s arbitration to

12   proceed. Plaintiff’s arbitration cannot proceed until Lyft pays its fees.

13           22.     As of the date of the filing of this Complaint, Lyft has still refused to pay the fees

14   necessary for Plaintiff’s arbitration to proceed. Plaintiff therefore withdrew his arbitration claim

15   without prejudice and filed the instant action. Plaintiff’s claims were tolled during the period

16   starting when he filed his arbitration demand and ending when he withdrew it. See Fanucci v.

17   Allstate Ins. Co., 638 F. Supp. 2d 1125, 1137-38 (N.D. Cal. 2009).

18           23.     Lyft’s actions are inconsistent with an intent to arbitrate Plaintiff’s claims. Lyft has

19   failed to pay necessary fees for Plaintiff to pursue his claims in arbitration (which its own TOS

20   require). Lyft has failed to remit these required payments to AAA in spite of numerous requests

21   from Plaintiff and the passage of six months since Plaintiff filed his arbitration demand. As such,

22   Lyft has defaulted in arbitration, waived its right to compel Plaintiff to proceed in that forum, and

23   therefore Plaintiff may proceed in this Court. Sink v. Aden Enterprises, Inc., 352 F.3d 1197 (9th

24   Cir. 2003).

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26   1
      Per an agreement between Plaintiff’s counsel and Lyft, Plaintiff’s arbitration was to be grouped
     with the arbitrations of numerous other drivers (also represented by Plaintiff’s counsel) and
27   assigned, in groups, to an agreed set of arbitrators with each arbitrator presiding over a grouping
     of arbitrations.
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 1                                      FACTUAL BACKGROUND

 2          A.      Plaintiff Is An Employee of Lyft Under the FLSA and California Law.

 3          24.     Lyft is an App-based transportation provider that has been based in San Francisco,

 4   California since 2012. In March 2019, Lyft’s shares were offered to the public and now trade on

 5   the NASDAQ stock exchange.

 6          25.     Lyft’s business. Lyft provides riders with transportation by assigning Lyft drivers

 7   to riders using a mobile phone application (the “Lyft App”).

 8          26.     The driver then transports the rider, and the rider pays Lyft for the service with a

 9   credit card via the Lyft App.

10          27.     Lyft sets the fare to be paid by the rider and communicates it to the rider via the

11   App.

12          28.     On information and belief, Lyft pays the driver a percentage of the ride fare plus

13   100% of any added tip, with Lyft keeping the rest of the fare for itself.

14          29.     The work that Lyft drivers perform is in the usual course of Lyft’s business –

15   indeed, providing driving services is Lyft’s business.

16          30.     Lyft says that it “is one of the largest and fastest growing multimodal

17   transportation networks in the United States.” See Lyft, Inc., Securities and Exchange

18   Commission Form S-1 Registration Statement, 2 at p. 1 (March 1, 2019) (“S-1 Statement”).

19          31.     Lyft drivers, including Plaintiff, provide the service that Lyft sells to the public.

20          32.     Lyft says that it participates in the “transportation . . . market,” and describes its

21   business as “singularly focused on revolutionizing transportation.” S-1 Statement at pp. 3-4.

22          33.     Lyft earns money by providing its customers with a ride from point A to point B –

23   a service that is wholly dependent on Lyft drivers, like Plaintiff.

24          34.     Lyft’s “business depends largely on [its] ability to cost-effectively attract and

25   retain qualified drivers[.]” S-1 Statement at p. 10.

26
     2
      Available at:
27   https://www.sec.gov/Archives/edgar/data/1759509/000119312519059849/d633517ds1.htm (last
     visited Apr. 15, 2019).
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 1           35.     Lyft is not merely a platform or uninterested bystander between drivers and riders.

 2   As this Court has found, “Lyft concerns itself with far more than simply connecting random users

 3   of its platform. It markets itself to customers as an on-demand ride service, and it actively seeks

 4   out those customers. It gives drivers detailed instructions about how to conduct themselves.

 5   Notably, Lyft’s own drivers’ guide and FAQs state that drivers are ‘driving for Lyft.’” Cotter v.

 6   Lyft, Inc., 60 F. Supp. 3d 1067, 1078 (N.D. Cal. 2015).

 7           36.     As part of Lyft’s requirements, Plaintiff received training in how to interact with

 8   riders, as well as Lyft’s expectations and practices.

 9           37.     Lyft also screens every driver, including Plaintiff, “before they are permitted to

10   drive on [its] platform, starting with professional third-party background and driving record

11   checks.” See S-1 Statement at p. 148.

12           38.     Lyft can terminate drivers’ right to provide driving services for violating one or

13   more of the rules that Lyft imposes by contract.

14           39.     Plaintiff lacks business autonomy. Plaintiff is not engaged in an independently

15   established business. Lyft requires riders to request rides and pay drivers through the Lyft App.

16   Lyft tells drivers not to solicit riders’ contact information and to reject riders’ requests to drive

17   them outside of the Lyft App. Plaintiff is dependent on Lyft to identify riders for him, he may not

18   hire employees to assist him in providing services for Lyft, and he does not need to possess any

19   particular or special skills other than those required to obtain a driver’s license.

20           40.     By working for Lyft, Plaintiff has not independently made the decision to go into

21   business for himself. Lyft has unilaterally determined that drivers are an independent contractors

22   while precluding them from taking the usual steps toward promoting and establishing

23   independent businesses, such as forming business relationships with Lyft customers or otherwise

24   promoting their services to the public.

25           41.     Lyft also prohibits drivers from setting or in any way affecting the rates of pay for

26   their own services. Lyft prohibits drivers from communicating with riders about future ride

27   services.

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 1          42.        Lyft requires drivers to use their own car or rent a car to provide rides for Lyft.

 2   Lyft requires that the car is not more than 8-9 years old, and it must pass automotive inspections

 3   as dictated by Lyft. Lyft requires drivers, including Plaintiff, to “only provide Services using the

 4   vehicle that has been reported to, and approved by Lyft, and for which a photograph has been

 5   provided to Lyft.” TOS ¶ 10(d).

 6          43.        Lyft requires drivers to carry their own insurance, but Lyft also provides drivers

 7   with liability and uninsured/underinsured coverage while they are logged into the Lyft App and

 8   driving riders.

 9          44.        Lyft is solely responsible for recording drivers’ rides, including the time and

10   distance for each ride, the ride fare and added Lyft fees, any tips, and for compiling drivers’ rates

11   of pay for each ride.

12          45.        Lyft controls the terms of employment. Lyft maintains uniform policies and

13   terms of service with which all Lyft drivers, including Plaintiff, must comply. Once Plaintiff

14   passed Lyft’s initial requirements, he was able to work for Lyft for an indefinite period of time.

15   However, Lyft may shut down Plaintiff’s access to the Lyft App for myriad reasons, thus

16   preventing him from obtaining and responding to ride requests.

17          46.        Plaintiff performs work for Lyft by logging into the Lyft App, making himself

18   available for rides and visible to Lyft users, which benefits Lyft. While logged in, Plaintiff

19   regularly receives ride assignment quickly, sometimes receiving a new ride before completing the

20   existing ride. Plaintiff rarely waits more than 15 minutes between ending one ride and receiving a

21   new ride assignment. On an average day, Plaintiff typically waits 3-5 minutes between

22   completing one ride and accepting the next assignment. Once Plaintiff receives an assignment,

23   Lyft allows him 15 seconds to accept the assignment.

24          47.        On information and belief, until the beginning of 2018, Lyft required that drivers

25   accept at least 90% of ride assignments to avoid being terminated. Now, Lyft “use[s] acceptance

26   rates to determine driver eligibility for certain features and help keep passenger wait times short.”

27   Lyft Help Center, “Acceptance Rate”, available at https://help.lyft.com/hc/en-

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 1   us/articles/115013077708-Acceptance-rate (last accessed July 1, 2019). Lyft calculates drivers’

 2   acceptance rates by adding the number of rides a driver completes to the number of rides

 3   cancelled by the rider, and dividing that number by the total number of ride assignments shown to

 4   the driver. Lyft explains that a driver’s acceptance rate may decrease due to missed assignments,

 5   such as when a driver lets the timer count down to zero, and by driver cancellations. Lyft drivers

 6   are under pressure to keep their acceptance rates high because Lyft bases eligibility for certain

 7   bonuses, awards, and other benefits in part on a driver’s overall acceptance rate, such as the

 8   weekly “power drive bonus” – a weekly cash bonus given to drivers for completing a certain

 9   number of rides. Ridester, “An Introduction to the Lyft Power Driver Bonus”, available at

10   https://www.ridester.com/lyft-power-driver-bonus/ (last accessed July 1, 2019).

11           48.    Lyft’s manner of assigning rides – including the frequency of ride assignment

12   messages, the very short window within which a driver can accept rides, and the threat of

13   termination for failure to accept the vast majority of rides – prevents Plaintiff from engaging in

14   personal activities while logged into the Lyft app.

15           49.    Plaintiff logs out of the Lyft App at all times when he is not engaged in providing

16   a ride for Lyft or making himself available for the next ride. When performing other types of

17   work for Lyft, Plaintiff typically logs out of the App. For example, Plaintiff typically logs out

18   when he pumps gas, performs vehicle maintenance and repairs, or uses the restroom. He

19   schedules his work and personal activities to minimize the risk of missing ride assignments.

20           50.    Lyft recognizes that drivers’ time while logged into the App is not their own.

21   Specifically, Lyft advises drivers to log out and take a break if they do not plan to accept ride

22   assignments: “If you can’t or don’t want to accept ride requests, we recommend taking a break.”

23   Id.

24           B.     Lyft’s Misclassification of Drivers Violates the FLSA and California Law.
25
             51.    Overtime and minimum wage. Lyft does not pay Plaintiff and drivers overtime for
26
     hours worked over eight in a day or over 40 in a week. Furthermore, although Lyft suffers or
27
     permits Plaintiff and drivers to log on to the Lyft App and make himself available to pick up
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 1   rides, Lyft fails to pay them while they are logged on but not providing a ride. In this way, Lyft

 2   fails to pay the minimum wage for all hours actually worked and instead limits his drivers’ to a

 3   piece rate for each ride. Even limiting the calculation of minimum wage to the hours Plaintiff is

 4   engaged in providing a ride, Lyft fails to pay him a minimum wage for all hours worked.

 5          52.     Expense reimbursement. Plaintiff’s and drivers’ necessary expenses incurred as a

 6   direct consequence of the discharge of their duties for Lyft include mileage costs; car insurance;

 7   cell phone service to perform driving services, receive driving requests, and maintain required

 8   email and/or text message contact with Lyft; and car cleaning and repair to comply with Lyft

 9   requirements, among other expenses. Lyft does not reimburse Plaintiff and drivers for work-

10   related expenses.

11          53.     Wage statements and time records. Lyft’s wage statements do not clearly itemize

12   earnings in such a way that Plaintiff and drivers can readily identify whether they received all pay

13   for which they are eligible under the law, such as hours worked, overtime, and minimum wages.

14   Payroll records similarly fail to track all pay accurately.

15          54.     Willfulness. Lyft has continued to classify Plaintiff and drivers as independent

16   contractors notwithstanding that its classification policy has been the subject of several lawsuits,

17   including this Court’s determination that a jury could reasonably find that Lyft drivers are

18   employees under California law under the more stringent pre-Dynamex standard. It has also not

19   changed its policy despite the California Supreme Court’s decision in Dynamex Operations W.,

20   Inc. v. Superior Court, 4 Cal.5th 903 (2018). Lyft’s refusal to reclassify Plaintiff and its drivers as

21   employees despite the clear legal standard showing that they are employees is knowing and

22   voluntary and constitutes willful misclassification.

23
                                COLLECTIVE ACTION ALLEGATIONS
24

25          55.     Plaintiff brings his FLSA Claim for Relief on behalf of himself and all Collective
26   members, defined above.
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 1          56.     Lyft is liable under the FLSA for, inter alia, failing to properly compensate

 2   Plaintiff and the Collective. The FLSA claim in this lawsuit should be adjudicated as a collective

 3   action. Upon information and belief, there are many similarly situated current and former Lyft

 4   drivers who have been underpaid in violation of the FLSA who would benefit from the issuance

 5   of a court-supervised notice of the present lawsuit and the opportunity to join it. Those similarly

 6   situated drivers are known to Lyft, are readily identifiable, and can be located through Lyft’s

 7   records. Notice should be sent to the FLSA Collective pursuant to 29 U.S.C. § 216(b).

 8                                  CLASS ACTION ALLEGATIONS

 9          57.     Plaintiff brings his claims on behalf of himself and all others similarly situated
10   pursuant to Federal Rule of Civil Procedure 23.
11          58.     The Class is defined as “All individuals who provided rides in California as Lyft
12   drivers using the Lyft App from July 2, 2016 through the date of judgment in this action.”
13          59.     Numerosity. The Class is so numerous that joinder of all members is
14   impracticable. Plaintiff is informed and believes, and on that basis alleges, that during the class
15   period Lyft has employed thousands of persons who satisfy the definition of the Class.
16          60.     Ascertainability. The identity of Class members is ascertainable through Lyft’s
17   records or by public notice.
18          61.     Commonality and Predominance. Common questions of law and fact exist as to
19   members of the Class that predominate over any individualized questions, including the
20   following:
21                  •       Whether Lyft drivers are employees or independent contractors;
                    •       Whether Lyft failed to reimburse Lyft drivers for work-related expenses;
22                  •       Whether Lyft failed to pay Lyft drivers overtime;
23                  •       Whether Lyft failed to pay Lyft drivers the minimum wage for all hours
                            worked;
24                  •       Whether Lyft failed to provide itemized wage statements;
                    •       Whether Lyft kept accurate payroll records;
25
                    •       Whether Lyft failed to provide meal and rest breaks;
26                  •       Whether Lyft’s policies and practices violated the UCL, California Labor
                            Code §§ 218.5, 218.6, 226, 226.3, 226.7, 226.8, 510, 512, 558, 1174,
27                          1174.5, 1182.12, 1194, 1194.2, 1197, 1197.1, 1198, 1199, 2802, 2810.5,
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                               and California Industrial Welfare Commission Wage Order No. 9-2001
 1                             (“Wage Order 9”);
 2                  •          Whether Lyft’s classification of Lyft drivers as independent contractors
                               was willful; and
 3                  •          The proper measure of damages sustained by members of the Class.
 4          62.     Typicality. Plaintiff’s claims are typical of Class members’ claims. Plaintiff, like
 5   other Class members, was subjected to Lyft’s policies and practices that violated the FLSA and
 6   California law. Plaintiff’s job duties and claims were and are typical of those of the Class
 7   members.
 8          63.     Adequacy. Plaintiff will fairly and adequately represent and protect the interests of
 9   the Class members. Plaintiff’s counsel are experienced in employment class actions and will
10   fairly and adequately represent and protect the interests of the Class members.
11          64.     Superiority. Class treatment would benefit the courts and Class members.
12   Certification of the class would provide substantial benefits to the courts and Class members. The
13   damages suffered by individual Class members are relatively small compared to the significant
14   expense and burden of individual prosecution of this litigation. In addition, class certification will
15   obviate the need for unduly duplicative litigation which might result in inconsistent judgments
16   about Lyft’s practices.
17                                    FIRST CLAIM FOR RELIEF
                                 (Minimum Wage Claim, 29 U.S.C. § 206
18                      Brought by Plaintiff on Behalf of Himself and the Collective)
19          65.     Plaintiff, on behalf of himself and all members of the Collective, realleges and

20   incorporates by reference all other paragraphs as if they were set forth again herein.

21          66.     At all relevant times, Lyft has been an employer and Plaintiff and the Collective

22   have been employees under California and Federal law entitled to the protections of the FLSA,

23   the California Labor Code, and Wage Order 9.

24          67.     The foregoing conduct, as alleged, constitutes a violation of 29 U.S.C. § 206,

25   which protects Plaintiff’s and the Collective’s right to earn a minimum wage and provides for

26   damages and punishment for violations of that right.

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 1          68.     In particular, the applicable minimum wage was $10.00 to $13.00 an hour,

 2   Plaintiff and the Collective regularly earned less than the minimum due to the significant

 3   deductions from pay that Lyft made for gasoline, car insurance, car financing, cleaning and

 4   maintenance, and cell phone usage, as well as the other expenses noted in above. These expenses

 5   resulted in hourly rates of well less than the minimum wage based on the hours that Plaintiff and

 6   the Collective worked.

 7          69.     Although Plaintiff and the Collective periodically did not earn at least the

 8   minimum wage, Lyft had a policy and practice of failing and refusing to pay them minimum

 9   wages for all hours worked and thus violated and continue to violate the above-referenced

10   minimum wage protections.

11          70.     Plaintiff seeks the amount of the respective unpaid wages owed him and the

12   Collective, liquidated damages, attorneys’ fees and costs pursuant to 29 U.S.C. §§ 201 et seq.and

13   such other legal and equitable relief as the Court deems just and proper.

14                                SECOND CLAIM FOR RELIEF
                                  (Overtime Claim, 29 U.S.C. § 207
15                    Brought by Plaintiff on Behalf of Himself and the Collective)
16          71.     Plaintiff, on behalf of himself and all members of the Collective, realleges and

17   incorporates by reference all other paragraphs as if they were set forth again herein.

18          72.     The foregoing conduct, as alleged, constitutes a violation of 29 U.S.C. § 207,

19   which requires overtime pay for time worked over 40 hours in a week.

20          73.     Although Plaintiff periodically worked more than 40 hours in a week, including

21   during the weeks beginning December 11, 2017 and December 18, 2017, Lyft had a policy and

22   practice of failing and refusing to pay him and similarly situated drivers overtime and thus

23   violated and continues to violate the above-referenced overtime provisions of the FLSA.

24          74.     Plaintiff seeks the amount of the respective unpaid wages owed him and the

25   Collective, liquidated damages, attorneys’ fees and costs pursuant to 29 U.S.C. §§ 201 et seq.and

26   such other legal and equitable relief as the Court deems just and proper.

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                                    THIRD CLAIM FOR RELIEF
 1                       (Minimum Wage Claim, Cal. Labor Code §§ 1182.12,
 2                        1194, 1194.2, 1197, 1197.1, 1199, and Wage Order 9
                        Brought by Plaintiff on Behalf of Himself and the Class)
 3
            75.     Plaintiff, on behalf of himself and all members of the Class, realleges and
 4
     incorporates by reference all other paragraphs as if they were set forth again herein.
 5
            76.     The foregoing conduct, as alleged, also constitutes a violation of the California
 6
     Labor Code §§ 1182.12, 1194, 1194.2, 1197, 1197.1, 1199, and Wage Order 9, which similarly
 7
     protect Plaintiff’s and Class members’ right to earn a minimum wage and provide for damages
 8
     and punishment for violations of that right.
 9
            77.     Although the applicable minimum wage in California was $10 to $13 between
10
     2016 and 2019, Plaintiff and Class members regularly earned less than the minimum due to the
11
     significant deductions from pay that Lyft made for gasoline, car insurance, car financing, cleaning
12
     and maintenance, and cell phone usage, as well as the other expenses noted above. These
13
     expenses resulted in hourly rates of well less than $10-$13 based on the hours that Plaintiff and
14
     Class members worked.
15
            78.     Although Plaintiff and Class members periodically did not earn at least the
16
     minimum wage, Lyft had a policy and practice of failing and refusing to pay them minimum
17
     wage for all hours worked and thus violated and continues to violate the above-referenced
18
     minimum wage protections.
19
            79.     Plaintiff seeks the amount of the respective unpaid wages owed him and other
20
     Class members, liquidated damages, attorneys’ fees and costs pursuant to Cal. Labor Code § 1194
21
     and Wage Order 9, and such other legal and equitable relief as the Court deems just and proper.
22
                                 FOURTH CLAIM FOR RELIEF
23             (Overtime Claim, Cal. Labor Code §§ 510, 1194, 1198, and Wage Order 9
                       Brought by Plaintiff on Behalf of Himself and the Class)
24
            80.     Plaintiff, on behalf of himself and all members of the Class, realleges and
25
     incorporates by reference all other paragraphs as if they were set forth again herein.
26

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 1          81.     The foregoing conduct, as alleged, constitutes a violation of California Labor Code

 2   §§ 510, 1194, 1198, and Wage Order 9, which require overtime pay for time worked over eight

 3   hours in a day or over 40 hours in a week.

 4          82.     Although Plaintiff and Class members periodically worked more than eight hours

 5   in a day or 40 hours in a week, Lyft had a policy and practice of failing and refusing to pay him

 6   and Class members overtime and thus violated and continues to violate the above-referenced

 7   overtime provisions of the California Labor Code and Wage Order 9.

 8          83.     Plaintiff seeks the amount of the respective unpaid wages owed him and Class

 9   members, liquidated damages, attorneys’ fees and costs pursuant to Cal. Labor Code § 1194 and

10   Wage Order 9, and such other legal and equitable relief as the Court deems just and proper.

11                                   FIFTH CLAIM FOR RELIEF
                         (Failure to Reimburse Necessary Expenses, Cal. Labor
12                                   Code § 2802 and Wage Order 9
13                      Brought by Plaintiff on Behalf of Himself and the Class)

14          84.     Plaintiff, on behalf of himself and all members of the Class, realleges and

15   incorporates by reference all other paragraphs as if they were set forth again herein.

16          85.     The foregoing conduct, as alleged, constitutes a violation of California Labor Code

17   § 2802 and Wage Order 9, which provides for the reimbursement of employee expenses incurred

18   while carrying out their employment or to comply with employer requirements.

19          86.     Plaintiff and Class members have incurred and continue to incur expenses

20   necessary for driving for Lyft that include mileage costs; car insurance; cell phone service to

21   perform his driving duties, receive driving requests, and maintain required email and/or text

22   message contact with Lyft; and car cleaning and repair to comply with Lyft requirements, among

23   other expenses.

24          87.     Lyft failed to reimburse Plaintiff and Class members for all work-related expenses

25   and thus violated and continues to violate Labor Code § 2802 and Wage Order 9.

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 1          88.      Plaintiff seeks the amount of unpaid expenses owed him and Class members,

 2   interest, attorneys’ fees and costs pursuant to Labor Code § 2802(b) and (c) and Wage Order 9,

 3   and such other legal and equitable relief as the Court deems just and proper.

 4                                SIXTH CLAIM FOR RELIEF
                  (Wage Statement Claim, Cal. Labor Code § 226, and Wage Order 9
 5
                      Brought by Plaintiff on Behalf of Himself and the Class)
 6          89.     Plaintiff, on behalf of himself and all members of the Class, realleges and
 7   incorporates by reference all other paragraphs as if they were set forth again herein.
 8          90.     The foregoing conduct, as alleged, constitutes a violation of California Labor Code
 9   § 226 and Wage Order 9, which provides requirements for properly itemized wage statements.
10          91.     The wage statements Lyft provided to Plaintiff and Class members do not clearly
11   itemize hours worked, an hourly wage, overtime, or earnings in a way that readily identifies
12   whether Plaintiff and Class members received all applicable pay for which they were eligible.
13   Lyft thus violated and continues to violate California Labor Code § 226 and Wage Order 9.
14          92.     Plaintiff seeks to recover, on behalf of himself and Class members, the greater of
15   all actual damages or fifty dollars ($50) for the initial pay period in which a violation occurred
16   and one hundred dollars ($100) for each violation in a subsequent pay period, not to exceed an
17   aggregate penalty of four thousand dollars ($4,000), as well as costs and attorneys’ fees.
18                              SEVENTH CLAIM FOR RELIEF
           (Meal and Rest Break Claim, Cal. Labor Code §§ 226.7, 512, and Wage Order 9,
19                    Brought by Plaintiff on Behalf of Himself and the Class)
20          93.     Plaintiff, on behalf of himself and all members of the Class, realleges and
21   incorporates by reference all other paragraphs as if they were set forth again herein.
22          94.     At all relevant times, Lyft has been an employer, and Plaintiff and Class members
23   are employees under California law entitled to the protections of the California Labor Code.
24          95.     The foregoing conduct, as alleged, constitutes a violation of California Labor Code
25   §§ 226.7, 512, and Wage Order 9, which provide for a 30-minute meal break for employees who
26   work five hours or more in a day and for 10-minute breaks for every three and one-half hours
27   worked.
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 1          96.     Although Plaintiff and an identifiable portion of Class members periodically

 2   worked four to five hours or more in a day, Lyft had a policy and practice of failing to provide

 3   lawful meal and rest breaks. Lyft thus violated and continues to violate the above-referenced meal

 4   and rest break provisions of the Labor Code.

 5          97.     Pursuant to Lyft’s policy of classifying Plaintiff and Class members as

 6   independent contractors, Lyft lacks a meal or rest break policy that complies with California law.

 7   In the absence of such policies, and because Lyft’s policies and practices incentivize Plaintiff and

 8   Class members to work constantly, Plaintiff and Class members regularly work five or more

 9   hours in a day without taking an off-duty meal break and work more than three and one-half

10   hours without taking an off-duty rest break. For example:

11      •   Lyft queues up the next rider before the current rider is dropped off, therefore, Lyft drivers

12          must cancel a rider request in order to log out for meal and rest breaks;

13      •   Lyft penalizes Lyft drivers for declining rider requests by lowering their acceptance rate,

14          which must be 90% or better. If a Lyft driver refuses too many rider requests, Lyft

15          terminates the driver’s employment;

16      •   To be eligible for Lyft’s Power Driver Bonus and other incentive payments, Lyft drivers

17          must be online many hours a week (usually at least 50 per week), provide a certain

18          number of rides, have an acceptance rate of 90% or higher, and/or remain online for long

19          stretches during peak periods (usually for at least 50 minutes an hour). These policies

20          discourage Lyft drivers from taking meal and rest breaks.

21      •   In addition, because Lyft has cut its prices in order to compete with other rideshare

22          companies, Lyft drivers must work much longer hours in order to make a living. This

23          circumstance also strongly discourages Lyft drivers from taking meal and rest breaks.

24          98.     Plaintiff, on behalf of himself and Class members, seeks the amount of the

25   respective pay owed – one hour of compensation for each workday that the meal or rest period is

26   not provided – interest, attorneys’ fees and costs, and such other legal and equitable relief as the

27   Court deems just and proper.

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                                    EIGHTH CLAIM FOR RELIEF
 1                      (Unfair Business Practices, Cal. Bus. & Prof. Code § 17200
 2                       Brought by Plaintiff on Behalf of Himself and the Class)

 3          99.       Plaintiff, on behalf of himself and all members of the Class, realleges and
 4   incorporates by reference all other paragraphs as if they were set forth again herein.
 5          100.      California Labor Code § 226.8 makes it unlawful for employers to willfully
 6   misclassify workers as independent contractors, and to charge an individual who has been
 7   willfully misclassified as an independent contractor a fee, or make any deductions from
 8   compensation, for any purpose including for goods, materials, space rental, services, government
 9   licenses, repairs, equipment maintenance, or fines arising from the individual’s employment
10   where any of the acts described would have violated the law if the individual had not been
11   misclassified.
12          101.      California Labor Code § 2802 and Wage Order 9 provide for the reimbursement of
13   Plaintiff’s and Class members’ expenses incurred while carrying out their employment or to
14   comply with Lyft requirements.
15          102.      California Labor Code §§ 1182.12, 1194, 1194.2, 1197, 1197.1, 1199, and Wage
16   Order 9 protect Plaintiff’s right to earn the minimum wage and provide for damages and
17   punishment for violations of that right.
18          103.      California Labor Code §§ 510, 1194, 1198, and Wage Order 9 provide for
19   compensation with overtime pay for time worked over eight hours in a day or 40 hours in a week.
20          104.      California Labor Code §§ 226, 353, 1174 and Wage Order 9 provide requirements
21   for properly itemized wage statements and payroll recordkeeping.
22          105.      California Labor Code § 2810.5 requires employers to provide written notice at the
23   time of hire containing the rate or rates of pay, including overtime rate, the basis for pay (whether
24   by the hour, piece, etc.), as well as other information.
25          106.      California Labor Code § 432 requires employers to provide employees and
26   applicants, “upon request,” with “a copy of . . . any instrument relating to the obtaining or holding
27   of employment that” that he or she has “sign[ed].” In addition, California Labor Code § 1198.5
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 1   provides “[e]very current and former employee[] or his or her representative . . . the right to

 2   inspect and receive a copy of the personnel records that the employer maintains relating to the

 3   employee’s performance or to any grievance concerning the employee.” That statute provides

 4   procedural protections for employees relating to how and when employees must be allowed to

 5   inspect or receive copies of such records, and it provides for injunctive relief and a penalty of

 6   $750 payable to the employee.

 7          107.     On information and belief, Lyft has a pattern, practice, and/or policy of failing to

 8   provide employee-specific documents and information, including details regarding whether they

 9   are subject to Lyft’s arbitration clause, within a reasonable time and in a manner that complies

10   with the law.

11          108.     Lyft’s conduct, as alleged, violates the UCL, which prohibits, inter alia, unfair

12   competition in the form of any unlawful, unfair, deceptive, or fraudulent business practices.

13          109.     By failing to pay Plaintiff and Class members for work-related expenses, overtime,

14   and minimum wage, and violating requirements for wage statements, notice, and payroll records,

15   Lyft committed unlawful and unfair acts as defined by the UCL.

16          110.     Lyft’s practices, as alleged, constitute unlawful acts because such acts violate the

17   California Labor Code sections detailed above, as well as Wage Order 9.

18          111.     Lyft’s practices, as alleged, also constitute unfair acts because such acts are

19   contrary to public policy.

20          112.     As a result of these unlawful and/or unfair business practices, Lyft reaped unfair

21   benefits and illegal profits at Plaintiff’s and Class members’ expense. Lyft must disgorge these

22   ill-gotten gains and restore to Plaintiff and Class members all expense reimbursement, overtime,

23   minimum wages, and other wages owed. Lyft’s actions deprived Plaintiff and Class members of

24   their expenses and full pay; consequently, Plaintiff and Class members have lost money and

25   property, and they are entitled to restitution in the amount of expenses and pay that Lyft withheld.

26   Pursuant to California Code of Civil Procedure § 1021.5, Plaintiff is entitled to payment of his

27   attorneys’ fees, costs, and expenses incurred in bringing this action.

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                                            PRAYER FOR RELIEF
 1
             WHEREFORE, Plaintiff prays for relief as follows:
 2
               A.    Certification of the Class;
 3
               B.    Issuance of Court-approved notice to the Collective so that members are advised
 4
                     of the lawsuit and have the opportunity to join it;
 5
               C.    Designation of Plaintiff as Representative of the Class;
 6
               D.    Designation of Plaintiff’s counsel of record as Class Counsel for the Class;
 7
               E.    A declaratory judgment that the practices complained of herein are unlawful;
 8
               F.    An injunction against Lyft and its officers, agents, successors, employees,
 9
                     representatives, and any and all persons acting in concert with it, as provided by
10
                     law, from engaging in each of the unlawful practices, policies, and patterns set
11
                     forth herein;
12
               G.    Statutory penalties;
13
               H.    An award of damages and restitution to be paid by Lyft according to proof;
14
               I.    Pre-judgment and post-judgment interest, as provided by law;
15
               J.    Attorneys’ fees, pursuant to the FLSA, Labor Code §§ 218.5, 226(e), 1194, 2802,
16
                     Code of Civil Procedure § 1021.5, and all other bases for fees in the Labor Code
17
                     and Wage Order 9;
18
               K.    Costs of suit, including expert fees and costs;
19
               L.    An appropriate service payment to Plaintiff for his service as Class representative;
20
                     and
21
               M.    Such other injunctive and equitable relief as the Court may deem just and proper.
22

23                                     DEMAND FOR JURY TRIAL

24           Plaintiff hereby demands a jury trial on all causes of action and claims with respect to

25   which he has a right to jury trial.

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 1   Dated: August 14, 2019                 Respectfully submitted,
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